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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF COLORADO


      WARNER BROS. RECORDS INC., et al.,

           Plaintiffs,

      v.                                                       C.A. No.: 19-cv-00874-RBJ-MEH

      CHARTER COMMUNICATIONS, INC.,

           Defendant.



                 MOTION FOR LEAVE TO FILE BRIEF AMICI CURIAE
                 OF COPYRIGHT LAW PROFESSORS IN SUPPORT OF
           DEFENDANT’S OBJECTION TO MAGISTRATE’S RECOMMENDATION

            Amici curiae copyright law professors, by and through their attorneys, hereby move for

  leave to file the attached brief amici curiae in support of Defendant’s Objection to Magistrate

  Hegarty’s October 13, 2019, Recommendation (“the Recommendation”), and as grounds therefor

  states as follows:

  I. Interest of Amici

            Amici are 23 intellectual property law professors from law schools throughout the United

  States who regularly teach, research, and write about copyright law and secondary liability,

  including their application to online platforms, services, and conduits like Internet Service

  Providers (ISPs).1 Amici have no direct financial interest in the parties to or the outcome of this

  case. They do share a professional and academic interest in ensuring that copyright law develops




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      A full list of the amici can be found in the Appendix.


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  in ways that properly balance the rights of copyright-owners with consumer welfare, innovation,

  and privacy.2

  II. This Court Has Broad Discretion to Accept Amici’s Useful Brief

         District Courts have “broad discretion” to permit participation of amicus curiae. High

  Country Conservation Advocates v. United States Forest Serv., 333 F. Supp. 3d 1107, 1116 (D.

  Colo. 2015). While the Tenth Circuit has not specified factors to consider when deciding whether

  to accept an amicus brief, lower courts have found the following factors helpful, though they are

  not exhaustive:

         (1) whether the proposed amicus is a disinterested entity; (2) whether there is
         opposition to the entry of the amicus; (3) whether counsel is capable of making
         arguments without the assistance of an amicus; (4) the strength of the information
         and argument presented by the potential amicus curiae's interests; and, perhaps
         most importantly (5) the usefulness of information and argument presented by the
         potential amicus curiae to the court.

  WildEarth Guardians v. Lane, No. CIV 12-118 LFG/KBM, 2012 U.S. Dist. LEXIS 189661,

  at *5-6 (D.N.M. June 20, 2012) (emphasis added) (citations omitted).

         Amicus briefs are particularly useful when they provide “unique information or perspective

  that can help the court beyond the help that the lawyers for the parties are able to provide.” Id. at

  *6 (quoting Ryan v. Commodity Futures Trading Comm’n, 125 F.3d 1062, 1063 (7th Cir. 1997)).

  “District courts [also] frequently welcome amicus briefs from non-parties concerning legal issues



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    Counsel for amici has conferred with counsel for the parties. Defendant Charter advised that it
  consents to this motion and filing of the amici brief; Plaintiffs advised that they do not consent to
  the filing of the brief and will file an opposition. Amici state, as contemplated by the analogous
  Fed. R. App. P. Rule 29(a)(4)(D), that no party or party’s counsel authored the brief in whole or
  in part, or contributed money that was intended to fund preparing or submitting the brief. No
  person other than amici or their counsel contributed money that was intended to fund preparing
  or submitting the brief.


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  that have potential ramifications beyond the parties directly involved.” Sonoma Falls Developers,

  LLC v. Nev. Gold & Casinos, Inc., 272 F. Supp. 2d 919, 925 (N.D. Cal 2003) (citing Cobell v.

  Norton, 246 F. Supp. 2d 59, 62 (D.D.C. 2003) (quoting Ryan v. Commodity Futures Trading

  Comm’n, 125 F.3d 1062, 1064 (7th Cir. 1997))). Relatedly, courts have found amicus briefs to be

  useful when, as here, they “underscore that the harms to [a party] will also harm the public interest.”

  Ramos v. Nielsen, 336 F. Supp. 3d 1075, 1085-86 (N.D. Cal 2018).

         The parties in this case are well represented and Plaintiffs object to amici’s participation.

  But amici, submitting this brief in their roles as academics concerned only with the proper

  development and application of the law, are the quintessential disinterested outside experts. The

  parties care about the outcome of this case; amici care about the proper development and

  application of copyright law generally. Amici’s impartial position and strong, big-picture

  arguments will be useful in providing the Court with a broader understanding of the context and

  potential impacts of the legal issues in this case. That broader perspective is particularly important

  given the Recommendation’s novel treatment of the direct financial benefit prong of the vicarious

  liability test in assessing the sufficiency of the facts alleged in the Complaint.

         Amici’s disinterested perspective and academic expertise on emerging issues within

  copyright and secondary liability law offer a unique contribution beyond what the parties can

  provide. In particular, amici’s brief situates this case within the historical development of

  secondary liability doctrine and infringement litigation. The brief explains the ramifications

  beyond this case of the Recommendation’s novel direct financial benefit analysis on ISPs,

  consumer welfare, and the public interest generally. Amici’s broader perspective offers a unique

  and more comprehensive lens on these issues than does the parties’ briefing. See High Country,



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  333 F. Supp. 3d at 1116-17 (finding participation of the Institute for Policy Integrity at NYU Law

  School as amicus warranted, even though the Institute addressed the same issues as the parties,

  because the Institute’s expertise in relevant issues offered a unique and helpful perspective).

 III. The Amicus Brief is Timely

         The proposed brief is timely and will not cause any delay. All parties were given notice

  on November 7 of amici’s intent to submit the brief and asked for consent. Counsel for amici has

  conferred with counsel for Plaintiffs and Defendant. While there are no specific rules for the filing

  of amicus briefs in district court, courts often look to the analogous Federal Rules of Appellate

  Procedure. The proposed brief is being submitted to the court within the time period provided by

  the analogous provision of Fed. R. App. P., Rule 29(a)(6) (within seven days after filing of the

  brief of the party being supported, here Charter’s Objection). Plaintiffs will have a full seven days

  from the submission of this amici brief before their response to Charter’s Objection is due. The

  brief is also within the length limits provided by the analogous provision of the Fed. R. App. P.,

  Rule 29(a)(5) (no more than half the length of Charter’s Objection).




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         For the foregoing reasons, amici respectfully request that the Court exercise its discretion

  and grant leave to file the attached brief amici curiae.


  November 11, 2019
                                                   /s/ Phillip R. Malone
                                                 Phillip R. Malone
                                                 Juelsgaard Intellectual Property
                                                    and Innovation Clinic
                                                 Mills Legal Clinic
                                                    at Stanford Law School
                                                 559 Nathan Abbott Way
                                                 Stanford, CA 94305
                                                 Telephone: 650-724-1900
                                                 Facsimile: 650-723-4426
                                                 pmalone@law.stanford.edu

                                                 Attorney for Amici Curiae




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                                        APPENDIX

        Amici curiae are the law professors listed below. Affiliation is provided for

  identification purposes only; all signatories are participating in their individual

  capacity and not on behalf of their institutions.


  Professor John R. Allison
  University of Texas at Austin

  Professor Ann Bartow
  University of New Hampshire School of Law

  Professor Michael A. Carrier
  Rutgers Law School

  Professor Andrew Chin
  University of North Carolina School of Law

  Professor Brian L. Frye
  University of Kentucky College of Law

  Professor Deborah R. Gerhardt
  UNC School of Law

  Professor Jim Gibson
  University of Richmond School of Law

  Professor Eric Goldman
  Santa Clara University School of Law

  Professor Stacey M. Lantagne
  The University of Mississippi Law School

  Professor Mark A. Lemley
  Stanford Law School

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  Professor Yvette Joy Liebesman
  Saint Louis University School of Law

  Professor Mark McKenna
  Notre Dame Law School

  Professor Viva R. Moffat
  University of Denver College of Law

  Professor Tyler Ochoa
  Santa Clara University School of Law

  Professor Blake E. Reid
  Colorado Law School

  Professor Michael Risch
  Charles Widger School of Law
  Villanova University

  Professor Guy A. Rub
  Michael E. Moritz College of Law
  The Ohio State University

  Professor Pamela Samuelson
  University of California
  Berkeley Law School

  Professor David E. Sorkin
  UIC John Marshall Law School
  The University of Illinois at Chicago

  Assistant Clinical Professor Erik Stallman
  University of California
  Berkeley Law School




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  Professor Madhavi Sunder
  Georgetown University Law Center

  Professor Rebecca Tushnet
  Harvard Law School

  Professor Jennifer M. Urban
  University of California
  Berkeley Law School




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                                 CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on this 11th day of November, 2019, a true and
  correct copy of the foregoing MOTION OF AMICI CURIAE COPYRIGHT LAW
  PROFESSORS FOR LEAVE TO FILE AMICI BRIEF IN SUPPORT OF DEFENDANT’S
  OBJECTION TO MAGISTRATE’S RECOMMENDATION and BRIEF OF AMICI CURIAE
  COPYRIGHT LAW PROFESSORS IN SUPPORT OF DEFENDANT’S OBJECTION TO
  MAGISTRATE’S RECOMMENDATION were served electronically via the cm/ecf e-filing
  system on:


   Mitchell A. Kamin                               Matthew J. Oppenheim
   Neema T. Sahni                                  Scott A. Zebrak
   Rebecca G. Van Tassell                          Jeffrey M. Gould
   Mark Y. Chen                                    Kerry M. Mustico
   COVINGTON & BURLING LLP                         OPPENHEIM + ZEBRAK, LLP
   1999 Avenue of the Stars, Suite 3500            4530 Wisconsin Ave. NW, 5th Floor
   Los Angeles, CA 90067-4643                      Washington, DC 20016

   Jacqueline C. Charlesworth                      Craig D. Joyce
   Jonathan M. Sperling                            John M. Tanner
   COVINGTON & BURLING LLP                         FAIRFIELD & WOODS, P.C.
   The New York Times Building                     1801 California St., Ste. 2600
   620 Eighth Avenue                               Denver, CO 80202
   New York, NY 10018-1405
                                                   Michael S. Elkin
   Megan O’Neill                                   Thomas Patrick Lane
   COVINGTON & BURLING, LLP                        Seth E. Spitzer
   One City Center                                 Stacey Foltz Stark
   850 Tenth Street NW                             WINSTON & STRAWN LLP
   Washington, DC 20001-4956                       200 Park Ave.
                                                   New York, NY 10166
   Benjamin M. Leoni
   Janette Lee Ferguson                            Jennifer A. Golinveaux
   LEWIS BESS WILLIAMS & WEESE P.C.                WINSTON & STRAWN LLP
   1801 California Street, Suite 3400              101 California St.
   Denver, CO 80202                                San Francisco, CA 94111


  November 11, 2019

                                               /s/ Phillip R. Malone
                                               Phillip R. Malone




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